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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 18-cv-80176

  IRA KLEIMAN,
  as personal representative of
  the estate of David Kleiman,

         plaintiff,

  v.

  CRAIG WRIGHT.
  ________________________________________/
                      MOTION TO DISMISS THE AMENDED COMPLAINT

         Dr. Craig Wright moves to dismiss the amended complaint filed by plaintiff Ira Kleiman,

  brother of the late Dave Kleiman and personal representative of his estate. The complaint is a

  thin soup of supposition, speculation, conflicting allegations, hearsay and innuendo, all driven by

  Plaintiff’s assumption that his late brother owned a great many bitcoins when he died, bitcoins

  Plaintiff cannot cash in because his brother failed to share the computer codes needed to access

  them. The complaint (and its exhibits) fairly scream these facts, but Plaintiff nonetheless tries to

  shakedown Dr. Wright for $11 billion or more. That action would require the Court to void two

  judgments of the Supreme Court of New South Wales, Australia, on grounds that they were

  procured by fraud, in abject violation of the fundamental rule that a court that supposedly was

  defrauded is the court that gets to decide whether it was defrauded. That rule is obeyed by courts

  of different districts, states, and nations, whether as a matter of interstate or international comity.

         But the amended complaint is inherently and fatally infirm for many other reasons,

  including because Plaintiff lacks standing, the Australian judgments preclude this action, Dr.

  Wright is not subject to personal jurisdiction, the complaint states no legally sufficient claims,

  and this action is entirely based on allegations of which Plaintiff has no personal knowledge.
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         To summarize, the complaint alleges that Dr. Wright and Dave Kleiman were involved in

  the creation of Bitcoin and had an oral “partnership” to mine bitcoins and create intellectual

  property. It alleges that, after Dave Kleiman died, his share of bitcoins and intellectual property

  allegedly owned by the purported partnership were improperly taken by Dr. Wright. Plaintiff has

  no personal knowledge of any of these allegations, because Dave Kleiman kept his involvement

  in Bitcoin a secret from his family, including Plaintiff. In fact, Plaintiff learned about Dave

  Kleiman’s involvement in Bitcoin from Dr. Wright, who emailed condolences to Dave’s father

  after Dave’s death, and told him that Dave might have left a legacy in the form of bitcoins on

  hard drives held by the estate. No good deed goes unpunished.

         After seeing Dr. Wright’s email, Plaintiff searched for what he hoped was a fortune in

  bitcoins on his brother’s hard drives, only to find that any possible fortune was inaccessible

  because Dave Kleiman, an encryption specialist, had failed to leave the passcodes the estate

  needed to access his encrypted hard drives. Unable to access Dave Kleiman’s bitcoins, Ira

  Kleiman trained his sights on Dr. Wright’s bitcoins. He then mined internet tabloids for the raw

  materials needed to cook up his stew of contradictory, absurd, and legally insufficient

  allegations.

             Dr. Wright moves to dismiss the amended complaint because Plaintiff lacks standing to

  bring his claims, which, are not pleaded with legal sufficiency and are precluded by two prior

  judgments entered by the Supreme Court of New South Wales, Australia in 2013. Moreover, all

  of Plaintiff’s claims are time barred and there is no personal jurisdiction over Dr. Wright in

  Florida.

         The amended complaint failed to identify a single witness in Florida with personal

  knowledge of its allegations. In contrast, it identifies at least 19 potential witnesses, companies,




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  government officials, and documents located in Australia, the purported situs of Dr. Wright’s

  allegedly wrongful conduct. None of those witnesses, companies, government officials, or

  documents are subject to compulsory process by any court located in Florida. Thus, even if

  Plaintiff had standing to bring his claims, even if the Court could exercise personal jurisdiction

  over Dr. Wright, even if Plaintiff had alleged legally sufficient claims, and even if those claims

  were not precluded by prior judgments of Australian courts, dismissal still would be required on

  grounds of forum non conveniens and international abstention.

                 I.    THE ALLEGATIONS OF THE AMENDED COMPLAINT

         Despite a second try, Plaintiff cannot muster a consistent story that makes sense in his

  amended complaint. By his own admission, he was not involved in any of the events alleged

  except for communications with Craig Wright from February 11, 2014, to October 9, 2015

  (Amended Complaint (“AC”) ¶¶ 133-140, 144-147, 150), and, at the time of his brother’s death,

  was not aware of Dave Kleiman’s alleged involvement in Bitcoin. Id. ¶ 12.1 We do our best to

  put Plaintiff’s secondhand allegations into an orderly narrative, taking as true—only for purposes

  of this motion—the amended complaint’s meatless gruel lightly seasoned with hearsay, stolen

  emails, information published on unreliable internet web sites, and improperly leaked transcripts

  of secret Australian government investigative interviews. See, e.g., id. ¶¶ 110, 139.

         A. The Plaintiff

         Ira Kleiman is the real-party-in-interest plaintiff (“Plaintiff”) here. He is Dave Kleiman’s

  brother and the personal representative of his estate (AC ¶ 49) and recently reincorporated W&K




  1
   We adopt the amended complaint’s use of the term “Bitcoin” to refer to “the protocol, software,
  and community,” and the term “bitcoins” to refer to the “units of exchange.” AC ¶ 3, n. 1.


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  (naming himself its managing member) to use it as a nominal plaintiff in this action.2 Plaintiff

  concedes he does not have personal knowledge of the events alleged (id. ¶ 12, 181), except for

  the single Thanksgiving Day 2009 conversation with Dave Kleiman found at paragraphs 58 to 61

  (which forms the basis for the hearsay conclusion stated at paragraph 10) and the later

  communications from February 11, 2014 to October 9, 2015. Id. 133-140, 144-47, 150.

         B. Dr. Wright and Dave Kleiman’s Personal Relationship

         Dave Kleiman and Craig Wright met online in 2003. AC ¶ 52; Ex. 1 at 26. Both men

  were interested “in cyber security, digital forensics, and the future of money.” Id. Ex. 1 at 26.3

  Craig Wright is an Australian computer scientist and businessman who lives in London. Id. ¶¶ 3,

  50. Dave Kleiman was an IT security expert (id. ¶¶ 44-47) who died on April 26, 2013. Id. ¶¶ 11,

  48. They kept their relationship hidden from most of their family and friends. Id. ¶ 12, 135.4

         C. Dr. Wright and Dave Kleiman’s Involvement in Bitcoin

         The amended complaint suggests that Dr. Wright is “Satoshi Nakamoto,” the

  pseudonymous inventor of Bitcoin, and that Dave Kleiman “was intimately involved in the

  creation of Bitcoin.” AC ¶¶ 51, 154-57. During 2008, Wright asked Dave Kleiman to help in

  creating the Bitcoin blockchain. Id. ¶¶ 55-56. The following year, Dave told Plaintiff that he was

  helping a “relatively wealthy foreign man” create “digital money.” Id. ¶¶ 58-61. Plaintiff claims

  that he “asked Dave why he didn’t partner with this wealthy individual;” Plaintiff concluded


  2
    http://search.sunbiz.org/Inquiry/CorporationSearch/GetDocument?aggregateId=flal-
  l11000019904-dce79b55-176a-4442-93a7-3c8896316aa2&transactionId=l11000019904-re-
  42d2ae10-fbd1-4902-8f7e-f57e746413cf&formatType=PDF
  3
    The quoted language from paragraph 52 is lifted verbatim (without citation) from the London
  Review of Books. AC Ex. 1 at 26. Plaintiff’s pleading is replete with cribbing from unreliable
  internet sources, stolen Australian government transcripts, pilfered hard drives, and hacked
  emails.
  4
    The amended complaint does not allege that the two men ever met in person anywhere or that
  Wright has ever been in Florida.


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  from Dave’s failure to respond that he was admitting that “they were already partners.” Id. ¶ 61.

  The amended complaint alleges that Dr. Wright and Dave Kleiman mined more than a million

  bitcoins by the time of Kleiman’s death (id. ¶ 65) and “accumulated a vast wealth of bitcoins

  from 2009 through 2013” (id. ¶¶ 10, 65) but that Dr. Wright told Plaintiff “that no one knew

  about their collaboration or W&K.” Id. ¶ 135.

         D. The Formation and Dissolution of W&K Info Defense and Research LLC

          On February 14, 2011, Dave Kleiman formed W&K Info Defense Research LLC

  (“W&K”) in Florida; he was listed as the registered agent and managing member. AC ¶ 69; Ex.

  3. W&K has no operating agreement and its “ownership structure is unclear.” Id. ¶¶ 70, 72.

  Plaintiff nonetheless alleges that Dave was the sole member of W&K, that Dr. Wright had “some

  form of” indirect or beneficial ownership interest in it (id. ¶¶ 70-71), and that Dr. Wright either

  did not have any direct voting interest or had a 50% voting interest in W&K. Id. ¶ 122.

  According to Plaintiff, Dr. Wright and Dave Kleiman “created [W&K] to mine bitcoin and

  develop intellectual property.” Id. ¶¶ 72-74, 135 (W&K “involved in bitcoin mining”), 143; Exs.

  26-28. W&K was administratively dissolved in September 2012. Id. ¶ 138.

         E. Allegations About Business Between Dr. Wright, Dave Kleiman, and W&K

         Plaintiff alleges that Wright and Dave Kleiman had a continuous collaboration, mining

  bitcoins and creating intellectual property from 2009 to April 26, 2013. AC ¶¶ 64, 66, 80, 94.

  Plaintiff claims that they were business partners from 2008 to February 2011 but that he does not

  know “the exact structure” of the partnership. Id. ¶ 67. He also alleges that, from February 2011

  to April 26, 2013, Dr. Wright and Dave Kleiman changed their business arrangement so that they

  did their joint mining and intellectual property work through W&K. Id. ¶¶ 68, 76, 80, 94.




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  Plaintiff does not know how much intellectual property, or even which intellectual property

  assets, are attributable to either period or business arrangement. Id. ¶ 15, n. 12.

         Though not sure how to apportion his claims between time periods, named plaintiffs, or

  alleged business arrangements (AC ¶ 66, n. 12; ¶ 67; ¶ 79, n. 15; ¶ 112), Plaintiff claims that the

  value of his lawsuit as of May 14, 2018, is more than $11,427,755,046.02 and that his claim was

  worth more than $27,332,125,781.93 at an earlier date. Id. ¶ 7.

         F. The Alleged Scheme to Obtain Bitcoins and Intellectual Property

         The gravamen of Plaintiff’s claim is that Dr. Wright “perpetrated a scheme” (the

  “Scheme”) to take “bitcoins and intellectual property owned by Dave and/or W&K . . .” (AC ¶¶

  12, 95) to steal them (id. ¶ 7), or “to try and justify certain tax positions he claimed in Australia”

  (id. ¶ 96), or maybe both. Plaintiff alleges that Dr. Wright executed the Scheme after Dave

  Kleiman’s death on April 26, 2013. Id. ¶ 95 [and heading above]. According to Plaintiff, the

  Scheme consisted of wrongful acts by Dr. Wright, who is alleged to have:

         1.      “forged a series of contracts” and backdated them, id. ¶¶ 13 and 89;

         2.      made false statements to Ira Kleiman, id. ¶¶ 14-15 [and heading above], ¶ 32;

         3.      filed two lawsuits in Australia to “launder the stolen title” to W&K’s intellectual

         property, id. ¶ 117 [and heading above];

         4.      revived W&K “to ensure he had control over it if necessary.” Id. ¶ 138.

         We summarize the allegations about these matters in turn below.

                 1. The Allegedly Fabricated Contracts

         The amended complaint alleges that, to accomplish the Scheme, Dr. Wright created a

  “fraudulent ‘paper trail’” to establish that Dave Kleiman transferred bitcoins and intellectual

  property to him by drafting and backdating at least three contracts, and forging Dave Kleiman’s



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  signature on at least two of them. Id. ¶ 97; see also ¶¶ 99-102 (alleging “forged” electronic

  signatures). The three contracts (the “Contracts”) are attached to the amended complaint. Id. Exs.

  5, 10, and 15. The first was an April 2011 deed between Dr. Wright and W&K entitled

  “Intellectual Property License Funding Agreement” (the “Deed”). Id. Ex. 10 at 2-3, 5 [¶ 1].

  Under the Deed, Dr. Wright (1) transferred 215,140 bitcoins to W&K (id. Ex. 10 at 3 [¶ F]), (2)

  loaned hardware to W&K that it could use to mine bitcoins at an anticipated rate of 12,000

  bitcoins (or “BTC”) per month (id. Ex. 10 at 4 [¶¶ L, P]), and (3) licensed intellectual property to

  W&K, including software that W&K could improve and use in the course of its business “in

  Australia and/or Overseas . . . .” Id. Ex. 10 at 3 [¶ B-C, H-J], 7 [¶ 3], 9 [¶ 5]. The Deed values the

  software at 20 million AUD. Id. Ex. 10 at 7 [¶ 3].

          The Deed required W&K to repay Dr. Wright 250,000 BTC by June 30, 2013, another

  50,000 BTC by December 30, 2013 (id. Ex. 10 at 7 [¶ 3(a)-(b)]) and assign and transfer to Dr.

  Wright all “right title and interest to the improvements” to the software, “including all claims as

  they relate to the improvements.” Id. Ex. 10 at 5 [¶ 1(e)]; 9 [¶ 5]. The Deed has choice-of-law

  and forum-selection clauses selecting the law of New South Wales, Australia, and specifying that

  the parties agreed to “submit to the non-exclusive jurisdiction of the courts of that state.” Id. Ex.

  10 at 6 [¶ 2].

          The parties to the second contract are Dr. Wright, W&K, and Dave Kleiman. Id. Ex. 5. It

  is entitled “Contract for the Sale of Shares of a Company Owning Business,” and is dated April

  2, 2013 (the “New Venture Contract”). Id. Ex. 5 at 2-3. Like the Deed, the New Venture

  Contract includes choice-of-law and forum-selection clauses selecting the law of New South

  Wales, Australia, and specifying that the parties agreed to “submit to the non-exclusive

  jurisdiction of the courts of that state.” Id. Ex. 5 at 4 [¶ 1].




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         The New Venture Contract reduces W&K’s repayment amount under the Deed by 49,500

  BTC (id. Ex. 5 at 5 [¶ 2(c)]) and creates a framework for a future venture in Australia between

  Dave Kleiman and Dr. Wright called Coin-Exch Pty Ltd (“Coin-Exch”). Id. Ex. 5 at 5 [¶ 4(b)-

  (d)]. It specifies that Kleiman would receive a 49.5% interest in Coin-Exch under the New

  Venture Contract, in exchange for transferring his shares in W&K and 323,000 BTC to Dr.

  Wright, who then would transfer them to Coin-Exch as capital. Id. Ex. 5 at 5 [¶ 4(b)-(c)].

         The other allegedly fabricated contract is entitled “Deed of Loan” dated October 23,

  2012. Id. Ex. 15. Plaintiff alleges the Deed of Loan demonstrates conflicts between the three

  contracts. Id. ¶ 105-6. Neither Dave Kleiman nor W&K is a party to the Deed of Loan (id. Ex.

  15), which bears a handwritten note that says: “as agreed, all wallets to be held in UK in trust

  until all regulatory issues solved and Group Company formed with Dave K and CSW.” Id. Ex.

  15 at 9. The Deed of Loan has a choice-of-law clause selecting the law of the Seychelles (id. Ex.

  15 at 3 [¶ 6]) and states that the signatories executed the contract in Ho Chi Minh City, Vietnam,

  and New South Wales, Australia. Id. Ex. 15 at 6.

         Plaintiff alleges that, “on their face, these contracts are demonstrably fraudulent . . .” (id.

  ¶ 98) and in the following paragraphs purports to demonstrate the facial fraudulence of the

  Contracts. Id. ¶¶ 99-110. Neither the amended complaint nor the Contracts state that any of the

  Contracts were drafted, executed, backdated, forged, or designed for fraudulent purposes in the

  Southern District of Florida or, indeed, in the United States.

                 2. The Judgments Rendered by the Supreme Court of New South Wales,
                    Australia

         Dave Kleiman died before the New Venture Contract’s deadline for W&K to repay Dr.

  Wright for the bitcoins he had transferred to W&K through the Deed and to transfer his interests

  in the 323,000 BTC to Wright as capital for Coin-Exch. Id. ¶ 11; Ex. 5 at 3 [¶ 2(c)-3(a), ¶ 4(a)].



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          The amended complaint alleges that Dr. Wright filed a statement of claim against W&K

  on July 25, 2013, in the Supreme Court of New South Wales, case number 2013/225983 (the

  “First Australian Lawsuit”). Id. Ex. 11 at 8 [¶ 3]. This First Australian Lawsuit states that, by a

  contract dated October 27, 2008, W&K agreed to pay Dr. Wright for property and consulting

  services to complete research. Id. at 9 [¶ 3]. The “contract was executed with an agreement that

  all created Intellectual property reverts to the ownership of [Wright] with interest if the project

  concludes without the assignment of shares in [W&K].” Id. at 10 [¶ 7].

          On November 6, 2013, the Supreme Court of New South Wales entered a judgment

  against W&K in the First Australian Lawsuit, with the consent of the parties, finding that W&K

  owed Wright 28,254,666.00 AUD. Id. Ex. 22 at 5. The court noted “the agreement of the parties

  that the plaintiff will accept transfer of Intellectual property held by the plaintiff in full and final

  satisfaction of the judgment.” Id.

          According to Plaintiff, on August 13, 2013, Dr. Wright filed a second statement of claim

  against W&K in the Supreme Court of New South Wales, case number 2013/245661 (the

  “Second Australian Lawsuit”). Id. Ex. 11 at 2-7. The Second Australian Lawsuit states that Dr.

  Wright had loaned W&K money and that W&K had defaulted on a contract dated January 8,

  2009, by which W&K had “agreed to pay [Wright] for property and consulting services to

  complete research.” Id. at 3. The Second Australian Lawsuit alleged that the “contract was

  executed with an agreement that all created Intellectual property reverts to the ownership of

  [Wright] with interest if the project concludes without the assignment of shares in [W&K],” and

  that the “IP is software and code used in the creation of a Bitcoin system.” Id. at 4. And the

  Second Australian Lawsuit alleged that W&K was “unable to complete its responsibilities due to




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  the death of its director, Mr. Kleiman,” and, after depreciation for hardware provided to W&K,

  Dr. Wright was entitled to a judgment of 28,533,016.19 AUD. Id.

         On August 28, 2013, the Supreme Court of New South Wales entered a judgment in the

  Second Australian Lawsuit against W&K of 28,534,049.79 AUD in favor of Dr. Wright. Id. Ex.

  19 at 2; Ex. 22 at 8. The court “note[d] the agreement of the parties that [Dr. Wright] will accept

  transfer of Intellectual property held by [him] in full and final satisfaction of the judgment.” Id.

         The amended complaint alleges that: W&K was not validly served with the Australian

  lawsuits (AC ¶ 119); Wright filed a false acknowledgement of claim in each case (id. ¶ 120; Ex.

  30); and W&K’s consent to the Australian Judgments was invalid because of lack of authorized

  consent. Id. ¶ 121; Ex. 19. Plaintiff sets out a litany of what he says are “demonstrably false

  factual allegations” made to the courts in the Australian Lawsuits. Id. ¶¶ 124-131.

                 3. Alleged Communications Between Dr. Wright and Plaintiff

         Plaintiff alleges that Wright made contact with the Kleiman family when he emailed

  Kleiman’s father on February 11, 2014, telling him “if you have any of Dave’s computer systems

  you need to save a file named wallet.dat. I will explain what this is later . . . .” AC ¶¶ 132-33, Ex.

  23. Plaintiff says he took over the email exchanges with Dr. Wright shortly after the first email.

  Id. ¶ 134. It was in these email exchanges that Dr. Wright alerted Plaintiff to Dave Kleiman’s

  activities, including his bitcoin mining, all of which were unknown to Plaintiff. Id. The amended

  complaint alleges that Dr. Wright told Plaintiff that Dave Kleiman’s estate was entitled to and

  would receive shares in Coin-Exch. Id. ¶ 136. He further alleges that he was contacted by the

  Australian Tax Office (the “ATO”) on April 15, 2014. Id. ¶ 141. An ATO employee told Plaintiff

  that the ATO was investigating Dr. Wright and gave him copies of various contracts. These

  statements and documents from the ATO representative made Plaintiff suspicious. Id. ¶ 123, 144.




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         Plaintiff and Wright exchanged emails with proposals and counter-proposals relating to

  Dave Kleiman’s rights to assets. Id. ¶¶ 145-49; Ex. 24 at 10-15, 20-21. Plaintiff says that Dr.

  Wright promised him a multi-million-dollar payment by October 2014 but never paid (id. ¶ 149)

  and then ceased responding to his emails on October 9, 2015. Id. ¶ 150.

                 4. Reinstatement of W&K

         After the dates of the Contracts, and after the entry of the Australian Judgments, W&K

  was reinstated on March 28, 2014 by a person named Uyen Nguyen, who—allegedly acting as

  Dr. Wright’s agent—removed Dave Kleiman as W&K’s registered agent, listed herself as

  registered agent, manager, and secretary, and added Coin-Exch Pty Ltd. as director. Id. ¶ 139;

  Ex. 5 at 2. According to Plaintiff, Dr. Wright was the director and controlling mind of Coin-

  Exchange Pty Ltd. (id.) and concealed from Plaintiff the reinstatement of W&K. Id. ¶ 140.

         On September 23, 2016, W&K was again administratively dissolved. Compl. [D.E. 1] ¶

  61.5 On April 12, 2018, after learning that Dr. Wright was going to challenge Plaintiff’s standing,

  Plaintiff reinstated W&K, listing himself as managing member.6

         G. Allegations of Fraud on this Court

         Plaintiff alleges that Dr. Wright’s declaration, filed in support of his motion to dismiss

  the original complaint, falsely states that he was not involved in W&K. AC ¶¶ 8, 161-62, 165-66,

  168. For his argument about inconsistent statements, Plaintiff cites: (1) the affidavit Dr. Wright

  gave in the Australian Lawsuits “to procure his fraudulent Australian judgements” (id. ¶ 163; Ex.

  4); (2) documents attached to his Australian affidavit (id. ¶ 167); and (3) the “Acknowledgement

  of Liquid Claims” filings in the Australian Lawsuits. Id. ¶ 169.


  5
    Plaintiff adopts a wide swath of allegations of his first complaint by explicit citation, using that
  earlier pleading as a sword and incorporating it by reference into this pleading. AC ¶ 160.
  6
    Supra note 2.


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                                            III. ARGUMENT

         A. Plaintiff Lacks Standing

         Plaintiff alleges that he has standing to maintain this action because of his role as the

  personal representative of Dave Kleiman’s estate. AC ¶ 1. But he lacks standing for two distinct

  reasons. First, for the time period after February 2011, the amended complaint makes clear that

  Dave Kleiman’s alleged business relationship was conducted through W&K. Id. ¶ 68. Second,

  for the time period before February 2011, Plaintiff fails to plausibly allege a partnership between

  Dr. Wright and Dave Kleiman that would support his standing to sue.

          “Standing is ‘the threshold question in every federal case.’” In re Whittle, 449 B.R. 427,

  429 (Bankr. M.D. Fla. 2011) (quoting Maverick Media Grp., Inc. v. Hillsborough Cnty. Fla., 528

  F.3d 817, 819 (11th Cir.2008)). A plaintiff must prove that he possesses standing, which is

  determined as of “the time the plaintiff’s complaint is filed.” Arcia v. Fla. Sec'y of State, 772

  F.3d 1335, 1340 (11th Cir. 2014).

             1. As Alleged, Only W&K Has Standing to Maintain An Action for Recovery of
                Intellectual Property Created or Bitcoins Mined After February 2011

         Plaintiff alleges quite specifically that, after February 2011, Dr. Wright and Dave

  Kleiman “conducted their bitcoin mining activities and intellectual property research and

  development through W&K.” AC ¶ 68. Nowhere does Plaintiff allege that Dave Kleiman had a

  direct, personal partnership with Dr. Wright from February 2011 until his death in April 2013.

  (Plaintiff’s attempt to allege a partnership for an earlier time period is addressed in the next

  section.) Thus, the complaint makes crystal clear that only W&K could have standing to assert

  claims for bitcoins mined and intellectual property created after February 2011.




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              2. Plaintiff Failed to Adequately Allege the Existence of a 2008 to 2011
                 Partnership Between Dr. Wright and Dave Kleiman

          Plaintiff admits that he does not know what business arrangement Dr. Wright and Dave

  Kleiman had to create intellectual property and mine bitcoins, but he calls it a “partnership.” AC

  ¶ 67 (quotation marks in original). Plaintiff’s conclusory allegation that their business

  arrangement amounted to a “partnership” is insufficient to establish standing to recover

  purported assets supposedly belonging to it. And an alleged oral “partnership” agreement not

  reduced to writing is barred by the statute of frauds.

  Plaintiff Did Not Allege Four of the Five Elements Needed to Adequately Allege the Existence of
  a Partnership

          Plaintiff claims that Dr. Wright and Dave Kleiman were engaged in a partnership from

  2008 to 2011 because they “associated to carry on as co-owners of a business for profit.” AC ¶

  197. That statement, copied almost directly from Fla. Stat. § 609.8202, is a conclusion of law

  masquerading as an alleged fact, which does not support the existence of the alleged partnership,

  let alone state the five elements needed to adequately allege a partnership under Florida law. See

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“[T]he tenet that a court must accept as true all of

  the allegations contained in a complaint is inapplicable to legal conclusions.”).

          Under Florida law, a partnership “must arise from a contract that includes all of the

  following elements: “(1) a community of interest in the performance of the common purpose; (2)

  joint control or right of control; (3) a joint proprietary interest in the subject matter; (4) a right to

  share in the profits; and (5) a duty to share in any losses which may be sustained.” Stonepeak

  Partners, 231 So. 3d at 553 (quoting Jackson–Shaw Co. v. Jacksonville Aviation Auth., 8 So.3d

  1076, 1089 (Fla. 2008)); Vannamei Corp. v. Elite Int'l Telecomm., Inc., 881 So. 2d 561, 562–63




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  (Fla. 3d DCA 2004) (“[S]uch a contract is an indispensable prerequisite.”). “If one element is

  absent it precludes the finding of a joint venture.” Stonepeak Partners, 231 So. 3d at 553.

         While Plaintiff concludes that Dr. Wright and Dave Kleiman had a partnership, he does

  not allege they had joint control over the supposed 2008-2011 partnership or that Dr. Wright had

  a proprietary interest in the bitcoins allegedly mined or intellectual property allegedly obtained

  as a result of this partnership. Moreover, Plaintiff failed to allege at all that Dr. Wright had “a

  right to share in the profits” or “a duty to share in any losses” of the supposed partnership. To

  plead those elements with legal sufficiency, Plaintiff was required to “allege a firm agreement to

  share in profits and losses in equality or in [a] definite proportion.” Ely v. Shuman, 233 So. 2d

  169, 170 (Fla. 3d DCA 1970). Plaintiff has not alleged a “firm agreement,” let alone an

  agreement that specified how profits and losses were to be shared. See AC ¶ 67. Accordingly, the

  amended complaint fails to adequately allege the existence of the purported 2008-2011

  partnership, precluding a finding that Plaintiff has standing to sue on its behalf, and requiring

  dismissal of Count VI’s purported claims for breach of the partnership duties of loyalty and care.

  The Statute of Frauds Bars All Claims Brought on Behalf of the Supposed 2008-2011
  Partnership

         A partnership must arise from a contract. Stonepeak Partners, LP v. Tall Tower Capital,

  LLC, 231 So. 3d 548, 553 (Fla. 2d DCA 2017). “Under well-settled Florida law,

  the statute of frauds bars the enforcement of [an oral] contract when the parties intended and

  contemplated that performance of the agreement would take longer than one year.” Dwight v.

  Tobin, 947 F.2d 455, 459 (11th Cir. 1991). The Court may “infer[] from the ‘surrounding

  circumstances’ or the ‘object to be accomplished’” whether the parties intended that an oral

  contact’s performance would take more than one year. Id.




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           No such inference is required here. Plaintiff alleges the existence of a partnership that

  lasted more than two years (AC ¶¶ 67, 197) and does not allege the parties ever executed a

  written agreement for it. Thus, Plaintiff’s claims arising from the alleged 2008-2011 partnership,

  including Count VI for purported breach of the partnership duties of loyalty and care, are legally

  insufficient and should be dismissed.

           B. Plaintiff Cannot Unilaterally Cause W&K to Sue Dr. Wright Directly and Has
              Failed to Allege a Derivative Claim Against Dr. Wright

           After Plaintiff learned that Dr. Wright would challenge Plaintiff’s standing to sue for

  W&K’s purported assets (D.E. 10 ¶ 4), he reinstated W&K by representing to the Florida

  Division of Corporations that he is W&K’s member manager.7 Plaintiff then amended the

  complaint and added W&K as a plaintiff in this action. But Plaintiff’s own allegations undermine

  his purported authority to act unilaterally to cause W&K to sue Dr. Wright.

           Plaintiff admits uncertainty as to his authority—contrary to his representations to the

  Florida Department of Corporations—to cause W&K to sue Wright. AC ¶ 70. He concedes that

  W&K’s ownership is “unclear” to him (id.), that Dave Kleiman may have owned only 50% of

  W&K’s shares (id. ¶ 84), and that Wright may also have been a member of W&K with “a 50%

  voting interest in it.” Id. ¶¶ 122, 194. As a 50% owner of W&K or a person with only a 50%

  voting interest in it, Dave Kleiman would not have had the power to cause W&K to sue Dr.

  Wright directly, and would only have possessed standing, if any, to bring derivative claims after

  satisfying the statutory requirements for doing so, including a pre-suit demand on W&K to bring

  direct claims, or by alleging demand futility. See Fla. Stat. § 605.0802. Plaintiff did not allege

  either, thus failing to adequately allege that W&K’s claims are properly before the Court.




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      Supra note 2.


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          C. W&K’s Claims Arising from Dr. Wright’s Possession of the Alleged8 Intellectual
             Property Are Barred by Res Judicata Because They Were Already Decided by
             the Supreme Court of New South Wales, Australia

          Plaintiff demands that the Court disregard two judgments against W&K rendered by the

  Supreme Court of New South Wales almost five years ago. Those judgments, entered by a

  common law court that employs procedural safeguards similar to this Court’s, bar and preclude

  W&K’s claims. See Expert Affidavit of G. Grieve, attached as Exhibit A, ¶¶ 30-39.

          The Supreme Court of New South Wales decided that Dr. Wright is the rightful owner of

  the intellectual property that Plaintiff now claims is owned by W&K. W&K assigned that

  intellectual property to Dr. Wright in contracts between them and appeared as a defendant before

  the Supreme Court of New South Wales in two cases brought by Dr. Wright. In the Australian

  Lawsuits, W&K conceded that Dr. Wright was the owner of the intellectual property under the

  contracts and consented to transfer title to Wright, in full and final satisfaction of debts

  exceeding forty-million (40,000,000) AUD, in the Australian Judgments. Plaintiff’s claims are

  barred by the res judicata effect of the Australian Judgments, which preclude any alleged claims

  of W&K arising from Dr. Wright’s ownership and possession of W&K’s intellectual property.

          A federal court sitting in diversity applies forum law to determine whether claims are

  barred by a prior judgment. Andreu v. HP Inc., 272 F. Supp. 3d 1329, 1332 (S.D. Fla. 2017).

  Under Florida law, claims are barred by a prior judgment if the following “four identities” are

  present: “1) identity of the thing sued for; 2) identity of the cause of action; 3) identity of the

  persons and parties to the actions; and 4) identity of the quality or capacity of the person for or



  8
    The amended complaint fails to describe or identify the intellectual property assets allegedly
  owned by W&K. Thus, the term “intellectual property,” as used in this motion, is not a defined
  term and shall refer to the “alleged” or “disputed” and unidentified intellectual property assets
  allegedly owned by W&K.


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  against whom the claim is made.” ICC Chem. Corp. v. Freeman, 640 So. 2d 92, 93 (Fla. 3d DCA

  1994); Charles v. Citizens Prop. Ins. Corp., 199 So. 3d 495, 496 (Fla. 3d DCA 2016).

             1. There is Identity of the Thing Sued For

         The amended complaint seeks damages for Dr. Wright’s purportedly wrongful possession

  of W&K’s intellectual property, alleging that Dr. Wright wrongfully obtained the rights to that

  property in the Australian Lawsuits. See AC ¶¶ 130-31, 148. The intellectual property that W&K

  alleges as a basis for recovery in this action is the same intellectual property that was at issue in

  the Australian Lawsuits. Id. ¶ 179. Thus, there is “identity of the thing sued for.”

             2. There is Identity of Parties

         As here, Dr. Wright and W&K were the parties to the Australian Lawsuits. AC Ex. 19.

             3. There is Identity of Causes of Action

         The test for identity of causes of action is the identity of facts necessary for the

  maintenance of the actions. ICC Chemical Corp., 640 So.2d at 92. Although this test sounds

  extremely narrow, it is not. Identity of facts necessary for the maintenance of the actions is

  properly construed to mean that the evidence used to prove the claims in the second action would

  essentially be the same as the evidence used to prove the claims in the first action. See Gordon v.

  Gordon, 59 So.2d 40, 44-45 (Fla.), cert. denied, 344 U.S. 878 (1952). The legal claims alleged in

  the second action need not be the same as those alleged in the first. E.g., Sodikart USA v. Geodis

  Wilson USA, Inc., 2014 WL 3928555, at *2 (S.D. Fla. 2014) (“Florida law does not require the

  causes of action to be duplicative . . .”); see, e.g., ICC Chem. Corp., 640 So.2d at 92 (fraud claim

  held barred by res judicata, because the question whether a fax was fraudulent was related to the

  defense of bad faith and coercion claims in the first lawsuit).




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         The Australian Judgments against W&K were based on Dr. Wright’s allegations that

  W&K owed him money and had breached other contractual duties. W&K’s breach of those

  duties to Dr. Wright, gave him the contractual right to accept W&K’s intellectual property in

  satisfaction of amounts owed him. Here, W&K alleges it is entitled to damages because Dr.

  Wright misappropriated W&K’s intellectual property, wrongfully took possession of it, and was

  thereby unjustly enriched, all based on the theory that the contracts between Wright and W&K

  were invalid because they were fraudulent. To maintain its claims, W&K must re-litigate the

  validity of the same contracts on which the Australian Judgments are based.

         The validity of the contracts at issue was as critical to the Australian Judgments as it

  would be to W&K’s claims here. Their existence and validity are the central issues in resolving

  the key question in both actions: whether Dr. Wright is the rightful owner of the intellectual

  property. Because the contracts themselves hold the key to both actions, and because the

  evidence regarding their validity would be the same here as it was in the Australian Lawsuits,

  Plaintiff’s claims meet the identity requirement.

             4. Identity of Quality and Capacity

         Finally, this action is brought against Dr. Wright, who was the plaintiff in the Australian

  Lawsuits and a party to the contracts he sought to enforce against W&K. W&K appeared in the

  Australian Lawsuits as a defendant and party to the contracts and conceded the validity of those

  contracts and its obligation to assign the intellectual property rights to Dr. Wright.

         As it did in the Supreme Court of New South Wales, W&K appears here as a party to the

  contracts with Dr. Wright, but reverses its position on the contracts. In Australia, W&K

  conceded their validity and enforceability. Now—almost five years later, after being taken over

  by Plaintiff, who has no personal knowledge of the contracts or W&K’s business relationship




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  with Dr. Wright—W&K is made to allege that the contracts were fraudulent and unenforceable.

  While W&K reverses its position on the contracts, the capacity in which it participated in the

  Australian Lawsuits is the same as here. Similarly, if this action were to proceed, Dr. Wright

  would be forced, once again, to establish the validity and enforce the terms of the contracts that

  W&K conceded, and the Supreme Court of New South Wales held, were enforceable. Thus,

  there is identity of the quality and capacity of the persons suing and being sued.

             5. W&K Waived Claims It Did Not Raise in the Australian Cases

         “Res judicata applies to all matters actually raised and determined as well as to all other

  matters which could properly have been raised and determined in the prior action, whether they

  were or not.” ICC Chem. Corp. v. Freeman, 640 So. 2d 92, 93 (Fla. 3d DCA 1994); Gomez-

  Ortega v. Dorten, Inc., 670 So. 2d 1107, 1108 (Fla. 3d DCA 1996). W&K could have defended

  Dr. Wright’s claim of rights to W&K’s intellectual property on all possible grounds, including

  those it alleges in its amended complaint. Thus, W&K is barred from raising those claims in this

  action. Charles v. Citizens Prop. Ins. Corp., 199 So. 3d 495, 496 (Fla. 3d DCA 2016) (party that

  failed to address dispositive issue in prior lawsuit was barred from bringing subsequent action);

  Media Placement, Inc. v. Combined Broad., Inc., 659 So. 2d 1328, 1328 (Fla. 3d DCA 1995).

         D. The Court Should Dismiss this Complaint Because of Forum Non Conveniens

          Plaintiff chose a forum that is not convenient for the Court, Dr. Wright, or even himself,

  unless his objective is to obstruct access to relevant evidence and complicate this litigation

  beyond reason. See Kolawole v. Sellers, 863 F.3d 1361, 1369 (11th Cir. 2017) (“‘[C]entral

  purpose’” of forum non conveniens doctrine is “‘to ensure that the trial is convenient’”) (quoting

  La Seguridad v. Transytur Line, 707 F.2d 1304, 1307 (11th Cir. 1983)). The amended

  complaint’s allegations are diffuse, scattered, and contradictory, but ineluctably lead to the



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  conclusion that most, if not all, of the evidence the Court would need to adjudicate the claims

  brought by Plaintiff lies outside the forum, outside Florida, outside the United States altogether,

  and is not subject to jurisdiction or compulsory process anywhere in this country.

         This action was filed against a citizen of Australia, about alleged conduct in Australia,

  involving potential witnesses and documents in Australia (including Australian government

  officials and reports), and requiring the application of Australian law. Even if the purported

  claims hadn’t already been adjudicated by the Supreme Court of New South Wales, this action

  would belong in Australia (if anywhere). This Court has broad discretion to dismiss an action on

  grounds of forum non conveniens when “(1) an adequate, alternative forum is available and (2)

  the public and private factors weigh in favor of dismissal.” Kolawole, 863 F.3d at 1369. Here,

  the Supreme Court of New South Wales is an adequate, alternative forum, and the public and

  private interest factors weigh heavily in favor of dismissal. See Banco Latino v. Gomez Lopez, 17

  F. Supp. 2d 1327, 1331 (S.D. Fla. 1998) (citing Piper Aircraft Co., 454 U.S. 235, 240 (1981)).

             1. The Supreme Court of New South Wales is an Alternate Forum that is Both
                Available and Adequate

         “Demonstrating the availability of a forum is not an especially onerous burden for a

  defendant seeking dismissal for forum non conveniens.” Kolawole, 863 F.3d at 1369; Banco

  Latino, 17 F. Supp. 2d at 1331. A forum is available if the defendant is amenable to process

  there. See Banco Latino, 17 F. Supp. 2d at 1331 (“Ordinarily, this requirement will be satisfied

  where the defendant is amenable to process in the other jurisdiction.”). The Supreme Court of

  New South Wales is an available forum because Wright is amenable to service of process there.

  See Declaration of Craig Wright, dated June 14, 2018 (Exhibit C) ¶ 23; Grieve Aff. ¶¶ 49-56;

  Supplement to G. Grieve Aff., dated June 14, 2018 (Exhibit B) ¶ 5.




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         An alternate forum is adequate when its remedies are like those available in plaintiff’s

  selected forum. Kolawole, 863 F.3d at 1370 (alternate forum adequate where expert testimony

  showed it could provide substantially similar remedies); accord Leon v. Millon Air, Inc., 251

  F.3d 1305, 1314 (11th Cir. 2001); Banco Latino, 17 F. Supp. 2d at 1331 (An alternate forum is

  inadequate when its potential remedy is so “clearly . . . unsatisfactory that it is no remedy at

  all.”); Cleveland v. Kerzner Int'l Resorts, Inc., 2015 WL 5695276, at *5 (S.D. Fla.

  2015), aff'd, 657 F. App'x 924 (11th Cir. 2016). The Supreme Court of New South Wales—an

  English-speaking, common-law court that has procedural safeguards like those of this Court—is

  an adequate forum and its laws provide legal and equitable remedies substantially similar to the

  remedies available here. See Grieve Aff. ¶¶ 57-58; Grieve Aff. Supp. ¶ 5.

             2. The Private Interest Factors Overwhelmingly Favor Dismissal

         “The private interests courts may weigh include the ‘ease of access to sources of proof;

  availability of compulsory process for attendance of unwilling witnesses, and the cost of

  obtaining attendance of willing witnesses . . . and all other practical problems that make trial of a

  case easy, expeditious and inexpensive.” Kolawole, 863 F.3d at 1372. Plaintiff has not identified

  a Florida-based witness with any relevant evidence or personal knowledge of Plaintiff’s material

  allegations, including himself. See AC ¶¶ 12, 181. The only Florida-based evidence the amended

  complaint cites are some corporate records (id. Exs. 3, 25), which anyone with an internet or

  telephone connection can obtain from anywhere in the world. See www.sunbiz.org.

         Lacking any Florida-based witnesses or documents and any personal knowledge of his

  own allegations, Plaintiff relies heavily on online tabloids that purport to provide unlawful leaks

  of confidential ATO transcripts and stolen or hacked emails. See AC ¶¶ 75, 82-84, 110; Exs. 9,

  12-13. The complaint also relies on Australian legal documents, including the Australian




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  Judgments, and the Deed and New Venture Contracts, which require the application of

  Australian law and contain the parties’ agreement to submit any dispute to the jurisdiction of the

  courts of New South Wales, Australia. See id. Exs. 4, 10-11, 15, 18-19, 22, 30. This Court would

  not have authority to compel Australian citizens, hackers, or thieves, let alone the Australian

  government, to produce and authenticate confidential documents, or to compel Australian

  government officials or attorneys to testify about privileged or confidential matters. See

  Cleveland v. Kerzner Int'l Resorts, Inc., 2015 WL 5695276, at *6, n. 8 (S.D. Fla.

  2015), aff'd, 657 F. App'x 924 (11th Cir. 2016).

         Even if Plaintiff had personal knowledge, he would be the only potential witness

  identified in the complaint who is located in Florida. Indeed, in his initial disclosure of

  individuals he “may use to support [his] claims,” he has only two Florida witnesses, Patrick

  Paige and himself. See Pl. Initial Disclosures, attached as Exhibit D. But Plaintiff admited he has

  no personal knowledge of the matters at issue, as did Paige, who asked Wright to tell him the

  “story of how this all played out.” See AC ¶ 12, 181; Ex. 8 at 4. Four of the other witnesses he

  lists on his initial disclosures are located outside the United States. Another, Uyen Nguyen, may

  be in California or in Vietnam. See Pl. Initial Discl. ¶¶ A(2), (4)-(6); Wright Dec. ¶¶ 3-4, 20(f)-

  (g). The last witness may be in Illinois. See Pl. Initial Discl. ¶ 7; Wright Dec. ¶ 20(i).

         The amended complaint itself lists 24 potentially relevant witnesses, companies, and

  trusts (including the purported “Seychelles, Singapore, and UK trusts” (AC ¶ 94)) located

  outside of the United States, at least 19 of which are in Australia. Wright Dec. ¶ 20. Of those 19

  potential Australian witnesses, five are current or former Australian government officials. Id. ¶

  20(a)-(b), (d), (e), (k). According to the amended complaint, Australian tax officials would be

  witnesses to statements taken during a confidential investigation they conducted, and potentially




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  would have access to related documents. See AC ¶¶ 75, 79, 82-84, 91, 96-97, 110, 123, 131-32,

  141-42, 144, 149, 205, 212; Exs. 9, 12, 18. Those documents are confidential and protected from

  disclosure by Australian law. Grieve Aff. ¶¶ 9-22. Another witness located in Australia is

  Andrew Sommer, Dr. Wright’s Australian attorney. His potential testimony is subject to an

  attorney-client privilege arising under Australian law.

         Thus, even if this Court could compel the potential witnesses in Australia to appear in

  Florida, it would not have power to compel them to testify about privileged or confidential

  matters, unless ordered do so by an Australian court applying Australian law. See Piper Aircraft

  Co. v. Reyno, 454 U.S. 235, 242, 258 (1981) (forum non conveniens dismissal is appropriate

  where necessary witnesses are not subject to compulsory process in the forum.); Ford v. Brown,

  319 F.3d 1302, 1308 (11th Cir. 2003) (“Perhaps the most important ‘private interest’ of the

  litigants is access to evidence.”); Tazoe v. Airbus S.A.S., 631 F.3d 1321, 1335 (11th Cir. 2011)

  (dismissing on grounds of forum non conveniens because district court’s inability to compel

  defendants’ “third-party witnesses or the production of documents from those witnesses . . . is

  both unusually extreme and materially unjust”) (internal quotation marks omitted); Montgomery

  v. Oberti, 945 F. Supp. 2d 1367, 1376 (S.D. Fla. 2013) (“[N]o adequate substitute exists for the

  witnesses’ live testimony and that lack of access to [] testimony . . . . strongly outweigh[s]

  Plaintiff’s choice of a United States forum.”).

          Further, even if this Court could compel the Australian witnesses to appear (it cannot),

  and an Australian court were to compel them to testify, bringing them here from the other side of

  the world would be extremely costly and disruptive. Plaintiff, who cites few (if any) sources of

  evidence in Florida, cannot possibly justify needlessly asking or attempting to compel most of

  the relevant witnesses to spend more than 24 hours traveling more than 10,000 miles from




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  Australia to testify in Florida about events that happened in Australia. See Ford, 319 F.3d at

  1308 (private interest factors supported dismissal where alleged acts occurred in Hong Kong and,

  as a result, “much of the evidence is likely to be in Hong Kong”). Moreover, this Court could not

  properly adjudicate any of Plaintiff’s claims without disregarding, disrespecting, and

  undermining the Australian court that rendered the Australian Judgments, and that court’s unique

  interest in determining whether its judgments were entered as a result of a fraud on it. See

  Florida Evergreen Foliage v. E.I. Dupont De Nemours & Co., 336 F. Supp. 2d 1239, 1271 (S.D.

  Fla. 2004), aff'd, 470 F.3d 1036 (11th Cir. 2006).

         In contrast, this Court’s dismissal of this action on forum non conveniens grounds would

  not prejudice Plaintiff. The amended complaint demonstrates that even if there is any evidence in

  Florida, it is minimal and easily transferrable to, or obtainable in, Australia. Further, even if this

  case were to proceed in this Court, Plaintiff would need Australian counsel to litigate, in

  Australia, the privacy and confidentiality issues arising from confidential communications and

  evidence located there and exclusively subject to Australian jurisdiction. Grieve Aff. ¶¶ 9-22;

  Wright Dec. ¶ 17. Finally, even if it were possible (it’s clearly not) for the Court to conveniently

  adjudicate this case and render a judgment for Plaintiff, he still would need to retain foreign

  counsel for overseas proceedings to enforce it. Grieve Aff. ¶¶ 23-29; Wright Dec. ¶ 10.

         The competent, common-law courts of Australia would allow Plaintiff to seek similar

  relief with similar procedural safeguards (Grieve Aff. ¶¶ 39, 57-58; Grieve Aff. Supp. ¶ 5), and

  discuss the case with his attorneys and testify in English. The private interest factors

  overwhelmingly support dismissal.




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             3. The Public Interest Factors Overwhelmingly Support Dismissal

         The public interest factors also overwhelmingly support dismissal of this action. They

  include: “(1) the administrative difficulties stemming from court congestion; (2) the interest in

  having localized controversies decided at home; (3) the interest in having the trial of a diversity

  case in a forum that is familiar with the law that must govern the action; (4) the avoidance of

  unnecessary problems of conflict of laws, or the application of foreign law; and (5) the

  unfairness of burdening citizens in an unrelated forum with jury duty.” Piper Aircraft Co. v.

  Reyno, 454 U.S. 235, 241 n.6 (1981).

         The Southern District of Florida is one of the busiest districts in the United States. This

  action could take years to adjudicate and harshly (and completely unnecessarily) tax the Court’s

  time and resources. See Kalb v. Marriott Int'l, Inc., 2017 WL 6565243, at *4 (S.D. Fla. 2017)

  (“The Court notes that the Southern District of Florida has one of the busiest dockets in the

  country, and this factor, thus weighs in favor of dismissal.”). Even if this case could be

  adjudicated here, it would require not only all the time and resources required by a complex local

  dispute, but an unknown and unknowable additional amount of time and resources arising from

  the need to obtain almost all of the evidence in Australia, in satellite proceedings subject to

  Australian law. The likelihood that a case will spawn significant satellite proceedings in a

  foreign jurisdiction heavily skews the public interest in favor of adjudicating the entire case

  there. See Kolawole v. Sellers, 863 F.3d 1361, 1372 (11th Cir. 2017).

         For example, the complaint relies on tabloid reports of alleged admissions by Dr. Wright

  in documents purporting to be leaked transcripts of a confidential interview conducted by the

  ATO (AC Exs. 9, 12) so heavily that it tries to base claims on its self-serving interpretation of a

  purported statement by an ATO auditor about what that auditor may have been led to believe by




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  an unnamed person. Id. ¶ 82. The problems arising from that allegation alone are thorny and

  potentially insurmountable, because of the limits on the Court’s jurisdiction over potential

  witnesses and documents. Those problems include the near impossibility of obtaining testimony

  from employees of a foreign sovereign about a confidential investigation. Grieve Aff. 7-22.

         Plaintiff’s claims are based entirely on alleged conduct that occurred outside of Florida,

  and the allegation that Dr. Wright committed fraud on an Australian court in two lawsuits.9 The

  Supreme Court of New South Wales and its judges, who adjudicated the Australian Lawsuits, not

  only have the right, but are in the best position, to decide whether they were defrauded. Tr. Int'l

  Corp. v. Nagy, 2017 WL 5248425, at *4–5 (S.D. Fla. 2017). Moreover, asking the Australian

  witnesses in those cases to appear here so Plaintiff can assail their testimony, then demand that

  this Court second-guess Australian judges or hold Australian procedures inadequate, would be

  terribly improper. See Piper Aircraft Co. v. Reyno, 454 U.S. 235, 242-43 (1981).

         This action is the paradigm of a dispute not localized in Florida that should be

  adjudicated elsewhere. Ira Kleiman never participated in Dave Kleiman’s or W&K’s work or

  even knew about it. He invested nothing, in Florida or elsewhere, in creating Bitcoin, operating

  W&K, or developing intellectual property. Moreover, Dave’s Florida apartment was merely a

  place where he kept computers that let him conduct international business activities in an

  international marketplace. AC ¶ 26. Dave Kleiman and Dr. Wright first met online. The amended

  complaint doesn’t allege that Dr. Wright has been to Florida even once in his life. Indeed, Dave

  Kleiman told Ira Kleiman that he was working with a “foreign man” to create “digital money.”



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   As a matter of law, a court that allegedly was defrauded is the court that gets to decide if it was
  defrauded. E.g., Florida Evergreen Foliage, 336 F. Supp. 2d at 1271. This rule is ironclad,
  except in exceedingly rare cases where due process and fundamental fairness are lacking in the
  other court. Id. No allegation that the courts of Australia will not afford Plaintiff due process
  have (or could have) been made in the amended complaint.


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  Id. ¶¶ 60-61 (emphasis added). That foreign man was an Australian citizen and the foreign

  judgments Plaintiff demands to relitigate and set aside were rendered by an Australian court. If

  any relitigation is to occur, it should not be in the Southern District of Florida.

         E. The Court Should Dismiss the Amended Complaint on Grounds of International
            Abstention Because This Dispute Was Adjudicated in 2013 by the Supreme
            Court of New South Wales, Australia

         The Supreme Court of New South Wales entered the Australian Judgments in 2013.

  W&K appeared before the Supreme Court of New South Wales in both cases and conceded that

  it owed Dr. Wright two contractual debts, each exceeding 20 million AUD. In his statements of

  claim for the First and Second Australian Lawsuits, Dr. Wright alleged that under the contracts,

  W&K agreed that “all created intellectual property reverts to the ownership of [Dr. Wright] with

  interest if the project concludes without assignment of shares in [W&K].” AC Exs. 11 at 4, 10. In

  each of the Australian Judgments, the Supreme Court of New South Wales noted “the agreement

  of the parties that [Dr. Wright] will accept the transfer of Intellectual property held by [Dr.

  Wright] in full and final satisfaction of the judgment.” Id. Ex. 19 at 2, 5. In the Australian

  Judgment concluding the First Australian Lawsuit, the court ordered that the “deed of transfer for

  the Intellectual Property is to be completed before 01 Sept 2013.” Id. Ex. 19 at 4.

         Plaintiff alleges that Dr. Wright obtained the Australian Judgments by committing a fraud

  on the Australian courts. AC ¶¶ 120-24, 129, 130-31. Plaintiff demands that this Court review

  and void those judgments, substituting its own findings for those of the Supreme Court of New

  South Wales rendered almost five years ago. The Court should abstain from this intrusion on the

  sovereignty of Australia and its courts and should allow the Supreme Court of New South Wales

  to decide whether its findings and judgments were correct, or whether a fraud was committed on

  it.



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         Abstaining on grounds of international comity promotes: “(1) a proper level of respect for

  the acts of our fellow sovereign nations—a rather vague concept referred to in American

  jurisprudence as international comity; (2) fairness to litigants; and (3) efficient use of scarce

  judicial resources.” See Turner Entm't Co. v. Degeto Film GmbH, 25 F.3d 1512, 1518 (11th Cir.

  1994). Below, we demonstrate that the criteria relevant to these principles, e.g., Tr. Int'l Corp.,

  2017 WL 5248425, at *4–5, all support abstention here.

             1. Abstention Advances the Goal of International Comity with Australian Courts

         The United States and Australia have long acknowledged and respected each other’s legal

  systems and judgments. See, e.g., Phillips USA, Inc. v. Allflex USA, Inc., 77 F.3d 354, 359 (10th

  Cir. 1996); Auxer v. Alcoa, Inc., 406 F. App'x 600, 603 (3d Cir. 2011). The amended complaint

  did not and could not allege otherwise. Whether abstention advances the principle of

  international comity depends on: “(1) whether the judgment was rendered via fraud; (2) whether

  the judgment was rendered by a competent court utilizing proceedings consistent with civilized

  jurisprudence; and (3) whether the foreign judgment is prejudicial, in the sense of violating

  American public policy because it is repugnant to fundamental principles of what is decent and

  just.” Turner Entm't Co., 25 F.3d at 1518 (internal citation omitted).

                 a. The Amended Complaint Does Not Allege that the Australian Judgments Were
                    “Rendered Via Fraud”

         For abstention, whether a foreign judgment was “rendered via fraud” has nothing to do

  with whether a litigant committed a fraud on a foreign court. It concerns only “whether a foreign

  court was acting fraudulently and is a forum so incompetent in its standards that its procedures

  cannot be squared with the principles underlying the American legal system.” Tr. Int'l Corp.,

  2017 WL 5248425, at *6. The issue is not “whether the parties have acted deceptively or

  fraudulently.” That is a question that should be answered by the foreign court that rendered the


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  judgment. Id. (“A party can act fraudulently before any court. If Defendant has used the

  Hungarian legal system in some way which was not above board, then the Hungarian forum was

  the correct place to address this concern.”).

         This unexceptional principle drives the unexceptional rule that a court which allegedly

  was defrauded is the court that gets to decide whether it was defrauded. This is the rule as to

  judgments of federal courts or the several states. E.g., Florida Evergreen Foliage v. E.I. Dupont

  De Nemours & Co., 336 F. Supp. 2d 1239, 1271 (S.D. Fla. 2004), aff'd, 470 F.3d 1036 (11th Cir.

  2006) (“[T]he proper forum in which to assert that a party has perpetrated a fraud on the court is

  the court which allegedly was a victim of that fraud.”) (internal quotation marks omitted). It also

  is the rule as to judgments of foreign courts. In short, courts of (or in) the United States do not

  look over another court’s shoulder to decide whether the other court was defrauded. Banco

  Latino v. Gomez Lopez, 17 F. Supp. 2d 1327, 1332 (S.D. Fla. 1998) (“It is not the business of our

  courts to assume responsibility for supervising the integrity of the judicial system of another

  sovereign nation.”) (quoting Blanco v. Banco Indus. de Venezuela, S.A., 997 F.2d 974, 982 (2nd

  Cir. 1993) (internal quotation marks omitted).

         Plaintiff alleges that Dr. Wright obtained the Australian Judgments through fraud on the

  Supreme Court of New South Wales. Whether there is any truth to that claim must be addressed

  to the court that rendered the judgments. E.g., Banco Latino, 17 F. Supp. 2d at 1332. What

  matters (and is dispositive) for international abstention is that Plaintiff did not (and could not)

  allege that the Supreme Court of New South Wales “was acting fraudulently and is a forum so

  incompetent in its standards that its procedures cannot be squared with the principles underlying

  the American legal system.” Tr. Int'l Corp., 2017 WL 5248425, at *6.




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                 b. The Australian Judgments were Rendered by a Competent Court in
                    Proceedings Consistent with Civilized Jurisprudence

         The Supreme Court of New South Wales is a competent, English-speaking, common-law

  court that employs procedural safeguards similar to those of this Court. See Grieve Aff. ¶¶ 30-39;

  Auxer, 406 F. App'x at 603 (“[N]umerous federal courts have found Australia to be an adequate

  alternative forum . . . .”); Allstate Life Ins. Co. v. Linter Grp. Ltd., 1992 WL 398446, at *6

  (S.D.N.Y. Dec. 21, 1992), aff'd, 994 F.2d 996 (2d Cir. 1993) (dismissing claims to be litigated in

  Australian courts); Interpane Coatings, Inc. v. Australia & New Zealand Ltd., 732 F. Supp. 909,

  918 (N.D. Ill. 1990) (dismissing claims to be heard by the Supreme Court of New South Wales).

                 c. The Foreign Judgments Do Not Violate American Public Policy as Repugnant
                    to Fundamental Principles of What is Decent and Just

         A judgment entered on a defendant’s unequivocal admission of liability does not violate

  American or Australian public policy and is not repugnant to fundamental principles of what is

  decent and just. See Blanco GmbH ±Co. KG v. Vlanco Indus., LLC, 992 F. Supp. 2d 1225, 1245

  (S.D. Fla. 2014), aff'd sub nom., Blanco GmbH ±Co. KG v. Laera, 620 Fed. Appx. 718 (11th Cir.

  2015) (“A consent judgment has the same effect as any other judgment rendered by a court.”). In

  the Australian Lawsuits, Dr. Wright alleged that W&K had breached two contracts and that he

  owned the rights to the intellectual property. AC Ex. 11 at 4, 10. W&K conceded the breaches

  and Wright’s rights to the intellectual property. Id. Ex. 19 at 2, 4. The Supreme Court of New

  South Wales entered the Australian Judgments finding that W&K had breached its contractual

  obligations, ordered W&K to transfer the deed for the intellectual property to Dr. Wright, and

  concluded that Wright would accept the intellectual property in full and final satisfaction of the

  Australian Judgments. Id. The Australian Judgments are final adjudications of the Australian

  Lawsuits on the merits. Grieve Aff. ¶ 37.




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          The Australian Judgments do not violate American public policy or fundamental

  principles of what is decent and just, because W&K’s admissions and consent would have had

  the same effect before this Court. See Mil-Tec USA, Inc. v. ABC Tool, Inc., 939 F. Supp. 853,

  854 (M.D. Fla. 1996) (enforcing consent judgment where defendant admitted that plaintiff was

  the owner of intellectual property); Belize Telecom, Ltd. v. Gov't of Belize, 528 F.3d 1298, 1307

  (11th Cir. 2008) (abstaining where foreign court enforced plain language of contract). Moreover,

  the Supreme Court of New South Wales permits a plaintiff to challenge the validity of judgments

  allegedly procured through a fraud on the court. Grieve Aff. ¶¶ 40-48. Thus, dismissal would not

  prejudice Plaintiff.

                  d. The Australian Interests Outweigh the American Interests

          “Also relevant to considerations of international comity are the relative strengths of the

  American and [foreign jurisdiction’s] interests.” Turner Entm't Co., 25 F.3d at 1521. Plaintiff

  seeks recovery for purported misconduct outside the United States relating to Dave Kleiman’s

  alleged participation in overseas business activities, including allegedly having partnered with a

  “foreign man,” who owned properties in Australia, to create a global, “decentralized digital

  currency.” AC ¶¶ 20, 60-61, 63. Plaintiff alleges that Dave Kleiman stored his share of bitcoins

  in foreign trusts with the “foreign man” and gave him the private keys for the bitcoins. Id. ¶¶ 84,

  88, 93-94.

          There are no American interests implicated in this action other than Plaintiff’s desire for a

  money judgment, evidently driven by his inability to learn the codes that would unlock Dave

  Kleiman’s Bitcoin wallet. Id. Ex. 1 at 38-39; Ex. 8 at 4-5, Ex. 24 at 7-9, 20. On the other hand,

  there are strong Australian interests in protecting the integrity of proceedings and judgments of

  Australian courts in cases about an Australian citizen’s business interests in Australia, and




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  Australian government investigations of those interests, including investigations by the ATO.

  See Florida Evergreen Foliage v. E.I. Dupont De Nemours & Co., 336 F. Supp. 2d 1239, 1271

  (S.D. Fla. 2004), aff'd, 470 F.3d 1036 (11th Cir. 2006); Piguet v. J.P. Morgan Chase Bank, N.A.,

  2017 WL 1655234, at *3 (S.D. Fla. May 2, 2017); Manzaro v. D'Alessandro, 229 So. 3d 843,

  845 (Fla. 4th DCA 2017), review denied, 2018 WL 507417 (Fla. Jan. 23, 2018). These

  Australian interests plainly outweigh the solitary, personal interest of an American plaintiff

  seeking a money judgment for conduct that occurred in a far distant land, half a world away.

             2. Abstention is Fair to the Litigants

         “With respect to the goal of fairness, relevant considerations include: (1) the order in

  which the suits were filed; (2) the more convenient forum; and (3) the possibility of prejudice to

  parties resulting from abstention.” Turner Entm't Co., 25 F.3d at 1521–22.

                 a. The Australian Lawsuits Were Filed First

         The Australian Lawsuits were filed and ended long before this action was started. For this

  action to proceed, the Court would have to void the Australian Judgments without giving the

  Australian court its rightful opportunity to decide if it was defrauded.

                 b. The Australian Courts are the More Convenient Forum

         As demonstrated above, none of the witnesses and relevant documents are found in

  Florida, except for corporate records that can be accessed by phone or online, anywhere in the

  world. In contrast, the amended complaint lists at least 19 potentially relevant witnesses and

  companies located in Australia. Of those, five are current or former employees of the ATO. The

  Court lacks jurisdiction over those parties and the authority to compel their presence here. Piper

  Aircraft Co. v. Reyno, 454 U.S. 235, 242 (1981) (“[B]ecause crucial witnesses and evidence were

  beyond the reach of compulsory process . . . it would be ‘unfair to make [the defendents] proceed



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  to trial in this forum.’”). Moreover, it would offend principles of fundamental fairness,

  convenience, and efficiency to require those potential witnesses to travel from Australia to testify

  in Florida about events that happened in Australia, especially when a competent, English-

  speaking, common-law court in Australia entered two judgments precluding Plaintiff’s claims

  and would provide Plaintiff the opportunity to be heard on whether those Australian Judgments

  were, as he alleges, the result of a fraud on the Australian court. Grieve Aff. ¶¶ 40-48, 57-58; see

  Florida Evergreen Foliage, 336 F. Supp. 2d at 1271 (“[T]he proper forum in which to assert that

  a party has perpetrated a fraud on the court is the court which allegedly was a victim of that

  fraud.”); Banco Latino v. Gomez Lopez, 17 F. Supp. 2d 1327, 1332 (S.D. Fla. 1998) (internal

  citation omitted); accord Tr. Int'l Corp. v. Nagy, 2017 WL 5248425, at *4–5 (S.D. Fla. 2017).

                 c. There Will be No Legally Cognizable Prejudice to the Parties from Abstention

         There will be no legally cognizable prejudice to the parties from abstention, because

  under Australia’s Uniform Civil Procedure Rules, Plaintiff can petition an Australian court to set

  aside the Australian Judgments (Grieve Aff. ¶¶ 39-48), and can bring causes of action that are

  the same or substantially similar to those in the amended complaint. Grieve Aff. ¶¶ 57-58;

  Grieve Aff. Supp. ¶ 5. In contrast, not abstaining would deny Dr. Wright access to potential

  witnesses and evidence he would need to rebut the allegations against him.

                 d. Abstention Will Promote the Efficient Use of Scarce Judicial Resources

         To decide whether abstention will promote efficient use of scarce judicial resources, the

  Court should consider “(1) the inconvenience of the federal forum, (2) the desirability of

  avoiding piecemeal litigation, (3) whether the actions have parties and issues in common, and (4)

  whether the alternative forum is likely to render a prompt disposition.” ITL Int'l, Inc. v. Walton &

  Post, Inc., 741 F. Supp. 2d 1313, 1317 (S.D. Fla. 2010). Here, Dr. Wright has demonstrated the




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  punishing inconvenience of this forum, because the Court lacks authority to compel any of at

  least 19 potential witnesses in Australia to appear for trial or even to produce documents. And

  abstention will promote the policy of avoiding piecemeal litigation. If the Court were to retain

  jurisdiction, the parties still would have to litigate issues in Australian courts about documents

  and witnesses that are exclusively subject to its laws and jurisdiction. Grieve Aff. ¶¶ 11-29.

         The Australian Judgments concluded disputes about Dr. Wright’s rights to W&K’s

  intellectual property, the same intellectual property Plaintiff demands this Court find was owned

  by W&K. The Supreme Court of New South Wales is the proper forum to adjudicate whether the

  Australian Judgments were entered as a result of a fraud on that court. See Tr. Int'l Corp., 2017

  WL 5248425, at *4–5. Moreover, it offers remedies to invalidate fraudulent judgments and can

  adjudicate W&K’s claims without delay. Grieve Aff. ¶¶ 39-48, 57-58; Grieve Aff. Supp. ¶ 5.

         F. There is No Personal Jurisdiction Over Dr. Wright

         Plaintiff has not adequately alleged specific personal jurisdiction over Dr. Wright under

  Fla. Stat. §§ 48.193(1)(a)(1), (2), and (6). Cf. AC ¶ 6. To establish personal jurisdiction under

  Fla. Stat. § 48.193(1)(a)(1), Plaintiff was required to allege that Dr. Wright committed a

  wrongful act in the course of “[o]perating, conducting, engaging in, or carrying on a business or

  business venture in this state or having an office or agency in this state.” Plaintiff attempted to

  satisfy that burden by alleging that Dr. Wright worked on certain information technology

  projects, mined bitcoin, and developed intellectual property with Dave Kleiman and W&K. AC

  ¶¶ 64-66. Those allegations do not show personal jurisdiction over Dr. Wright because Plaintiff

  did not and could not allege that Wright performed any of those acts while physically “in this

  state,” Fla. Stat. § 48.193(1)(a)(1), or even in the United States. Wright Dec. ¶¶ 5-9, 11-16. On

  the contrary, he admits that “[a]nyone with internet access can ‘mine bitcoin.’” AC ¶ 26.




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            Moreover, Plaintiff’s claims for relief do not “arise from” any alleged work by Dr.

  Wright on IT projects, the mining of bitcoin, or the development of intellectual property with

  Plaintiff. Rather, his claims depend on allegations that, after Dave Kleiman’s death, Dr. Wright

  (1) exercised control over bitcoins that Dave Kleiman, W&K, or both held in trusts with Dr.

  Wright outside of the United States, or the private keys needed to control those bitcoins, which

  Dave Kleiman allegedly gave to Dr. Wright (AC ¶¶ 93-95), and (2) the rights to intellectual

  property that Dr. Wright supposedly acquired by committing a fraud on the Supreme Court of

  New South Wales, which issued two judgments against W&K finding that Dr. Wright is the

  rightful owner of the intellectual property. Id. ¶ 130, Ex. 11. None of those allegations describe

  acts taken by Dr. Wright in Florida, let alone acts taken in the course of operating, engaging in,

  or carrying on any business in Florida. Thus, Plaintiff has (again) failed to establish personal

  jurisdiction under Fla. Stat. § 48.193(1)(a)(1).

            Similarly, the amended complaint fails to allege that Dr. Wright “[c]ommitt[ed] a tortious

  act within this state” under Fla. Stat. § 48.193(1)(a)(2), because every purported wrongful act

  was alleged to have been committed outside Florida, and there was no allegation (nor could there

  have been)10 that Dr. Wright committed any element of an alleged tort in Florida, let alone a

  “substantial aspect” that was “essential to the success of the tort.” E.g., Live Face on Web, LLC

  v. Tweople, Inc., 2014 WL 12611357, at *2 (M.D. Fla. 2014) (citing Cable/Home Commc'ns

  Corp. v. Network Prods., Inc., 902 F.2d 829, 857 (11th Cir. 1990)). Plaintiff did not and could

  not allege that Dave Kleiman ever gave Dr. Wright bitcoins or the private keys needed to use

  them in the United States, that Dr. Wright is holding the bitcoins or the private keys in the United

  States, or that Dr. Wright did anything in Florida to obtain the intellectual property. On the



  10
       See Wright Dec. ¶¶ 5-9, 11-16.


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  contrary, they claim that Dr. Wright was holding the bitcoins in foreign trusts and that he

  obtained the intellectual property by committing a fraud on the Supreme Court of New South

  Wales in Australia. AC ¶¶ 84-88, 91-93, 130, Ex. 11. Thus, Plaintiff did not and cannot establish

  personal jurisdiction under Fla. Stat. § 48.193(1)(a)(2).

         Finally, Plaintiff did not and could not establish personal jurisdiction under Fla. Stat. §

  48.193(1)(a)(6), because Plaintiff (1) did not sue for physical injury to persons or property, and

  (2) did not allege that Dr. Wright caused personal injury or physical property damage while

  “engaged in solicitation or service activities within this state.” RMS Titanic, Inc. v. Kingsmen

  Creatives, Ltd., 2013 WL 12091142, at *4 (M.D. Fla. 2013), aff'd, 579 F. App'x 779 (11th Cir.

  2014) (Fla. Stat. § 48.193(1)(a)(6) does not apply when the plaintiff alleges “only economic loss

  unaccompanied by personal injury or physical property damage.”).

         G. Plaintiff’s Claims are Time Barred

         A four-year statute of limitations period applies to all of Plaintiff’s claims except for the

  misappropriation claims, which are subject to a three-year statute of limitations. 18 U.S.C.A. §

  1836(d); Fla. Stat. § 688.007. Based on his allegations, Plaintiff’s claims are all time barred.

             1. Plaintiff’s Claims for Conversion, Breach of Fiduciary Duty, Unjust
                Enrichment, and Permanent Injunction are Time Barred

         The Supreme Court of Florida has stated unequivocally that the “delayed discovery

  doctrine does not apply” to actions for conversion, breach of fiduciary duty, and unjust

  enrichment, or for a permanent injunction based on those claims. Davis v. Monahan, 832 So. 2d

  708, 712 (Fla. 2002); accord Laterza v. JPMorgan Chase Bank, N.A., 221 F. Supp. 3d 1347,

  1351–52 (S.D. Fla. 2016). Accordingly, Plaintiff’s claims would be time barred if they accrued

  by February 14, 2014, four years before the filing of the complaint. [D.E. 1]. Plaintiff admits that

  his conversion, breach of fiduciary duty, and unjust enrichment claims accrued in April 2013.



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         Under Fla. Stat. § 95.031(1), “[a] cause of action accrues when the last element

  constituting the cause of action occurs.” Here, Plaintiff’s claims for conversion, breach of

  fiduciary duty, and unjust enrichment rely on Dr. Wright’s alleged theft of bitcoins and

  intellectual property belonging to Dave Kleiman and W&K. AC ¶¶ 171, 177, 213.

         According to Plaintiff, the last act establishing these causes of action occurred when

  Dave Kleiman died or, at the latest, by November 2013. Plaintiff alleges that Dr. Wright’s

  fiduciary duties to Dave Kleiman arose from business arrangements he had with Dave before his

  death. AC ¶¶ 64, 67-68. The allegation that Wright breached those duties is predicated on his

  alleged conversion of the bitcoins and intellectual property. Id. ¶ 195, 200. According to

  Plaintiff, Dr. Wright had possession and control of the bitcoins before Dave Kleiman’s death

  because Dave “shared [with Dr. Wright] the private keys to the bitcoins they mined” (id. ¶ 94)

  and because Wright and Dave held their bitcoins jointly in trusts. Id. ¶ 93. Similarly, he alleges

  that Dr. Wright had the intellectual property by the time Dave Kleiman died (id. ¶ 171) and, in

  any case, by November 2013, when the Australian Judgments were entered. Id. Ex. 22. Thus,

  Plaintiff’s claims for conversion, breach of fiduciary duty, and unjust enrichment accrued when

  Dr. Wright no longer had a right to possess the bitcoins and intellectual property. According to

  Plaintiff, that was “[o]n or about April 2013” (id ¶ 171) or, for the intellectual property, no later

  than November 2013, by which time Dr. Wright had allegedly completed the Scheme by

  obtaining the Australian Judgments. Id. ¶ 117 (and heading above). In either case, Plaintiff’s

  claims for conversion, breach of fiduciary duty, unjust enrichment, and permanent injunction

  indisputably accrued before February 14, 2014 and, as a result, are time barred.




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             2. Plaintiff’s Fraud Claims Are Time-Barred Because He Should Have
                Discovered Them in the Exercise of Due Diligence by February 14, 2014

         Unlike claims for conversion, breach of fiduciary duty, and unjust enrichment, claims for

  fraud accrue from the time “the facts giving rise to the cause of action were discovered or should

  have been discovered with the exercise of due diligence.” Fla. Stat. § 95.031. Accepting the facts

  as alleged, Plaintiff should have, with almost no diligence, discovered his claim that Dave

  Kleiman’s business partner was wrongfully in possession of Dave’s assets.

         Plaintiff says that he knew in November 2009 (more than seven years before bringing the

  complaint) that his brother was in a partnership with “a relatively wealthy foreign man,”

  “working on ‘something bigger’ than Facebook.” AC ¶¶ 58-61. Dave Kleiman told him “that he

  was ‘creating his own money,’” specified that it was “digital money,” and showed him the

  Bitcoin logo that he supposedly was working on with this foreign man. Id. ¶¶ 59-61. On Dave

  Kleiman’s death, Plaintiff, as personal representative, was “required by law to pursue assets and

  claims of the estate.” Bookman v. Davidson, 136 So. 3d 1276, 1279–80 (Fla. 1st DCA 2014).

  Like his other claims, Plaintiff’s fraud claims are predicated on Dr. Wright’s alleged theft of

  Dave Kleiman’s bitcoins and intellectual property. AC ¶¶ 205, 212. Thus, as discussed above,

  Plaintiff’s fraud claims accrued shortly after April 2013.

         Plaintiff alleges that Bitcoin was “mainstream” within “mere months” of Dave Kleiman’s

  death (AC ¶ 11), by which time the “wealthy foreign man” had “co-authored a paper on the

  mechanics of overwriting hard drive data” with Dave Kleiman (id. ¶ 53), and posted a tribute to

  Dave for the whole world to see on his YouTube channel. Id. ¶¶ 154, n. 23; see also Compl. ¶

  51. Thus, in even the most anemic exercise of due diligence, Plaintiff could have discovered (if

  he didn’t know already) that his brother had created a “digital currency” “bigger than Facebook”

  that had a logo the same as the one Dave said he was using with the “wealthy foreign man.”



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  Plaintiff had to be on notice that, despite being the creator of this groundbreaking, global

  currency, his brother did not have the corollary bitcoins or related intellectual property in his

  possession at his death in April 2013.

         Based on the Thanksgiving 2009 story and his allegation that Dr. Wright had the bitcoins

  and intellectual property within a short time after Dave’s death, Plaintiff should easily have

  discovered his claim that those assets were being held by the “wealthy foreign man.” As Dave

  Kleiman’s personal representative, Plaintiff had an affirmative legal duty to do so. Thus, well

  before February 14, 2014, Plaintiff should have, with the exercise of due diligence, discovered

  his alleged fraud claims. Thus, Plaintiff’s fraud claims are time barred.

             3. Plaintiff’s Misappropriation Claims are Time-Barred

         Plaintiff brings Counts V and VI under Florida’s Uniform Trade Secrets Act (“FUTSA”)

  and the Defense of Trade Secrets Act (“DTSA”). FUTSA’s and DTSA’s statutes of limitation are

  three years from the date that an alleged misappropriation “is discovered or by the exercise of

  reasonable diligence should have been discovered.” 18 U.S.C.A. § 1836(d); Fla. Stat. § 688.007.

  Plaintiff filed the complaint on February 14, 2018, and his misappropriation claims are time-

  barred if, in the exercise of reasonable diligence, he should have discovered the alleged

  misappropriation before February 14, 2015. The emails attached to the amended complaint

  demonstrate that ten months earlier, in April 2014, Plaintiff already believed that Dr. Wright

  had misappropriated W&K’s assets, including its intellectual property. See AC Ex. 24, at 2-10,

  16-20 (documents purporting to be April 2013 email exchanges between plaintiff and Wright in

  which plaintiff calls Wright’s honesty into question and claims to have evidence of

  misappropriation); id. Ex. 24 at 20 (Plaintiff’s email dated April 23, 2014 stating that he had

  believed there were “questionable discrepancies” in documents provided to plaintiff by ATO,




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  including discrepancies relating to Department of Homeland Security project in which “trade

  secrets” purportedly were used.); id. Ex. 24 at 6 (Wright’s email dated April 23, 2014,

  responding to plaintiff’s email of the same date, stating, “I don’t know what you have been led to

  believe. But I am not trying to take anything from Dave’s estate”). Thus, Plaintiff not only

  should have known, but had reason to know—if not actual knowledge—of the alleged basis for

  his misappropriation claims more than three years before commencing this action. Accordingly,

  Plaintiff’s misappropriation claims (Counts V and IV) should be dismissed with prejudice.

          H. The Amended Complaint Fails to State Sustainable Claims

          To survive a Rule 12(b)(6) motion, a complaint must make a “short and plain statement

  of the claim showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a), and giving the

  defendant “fair notice of what the claim is and the grounds upon which it rests.” Bell Atl. Corp.

  v. Twombly, 550 U.S. 544, 555 (2007) (internal quote omitted). A complaint must offer more

  than “labels and conclusions or a formulaic recitation of the elements of a cause of action . . . .”

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Such “[t]hreadbare recitals of the elements of a

  cause of action, supported by mere conclusory statements” will not do.

                  1. The Complaint’s Contradictory Allegations Demonstrate the Impossibility of
                     Granting Any Relief on Plaintiff’s Contrived, Implausible Story

          The amended complaint does not allege a coherent or justiciable basis for relief. It tells a

  tall tale, not only as improperly far-fetched and apparently fabricated as a Rube Goldberg

  contraption, but also contradicted by Dave Kleiman’s own words and undermined by its 469

  pages of exhibits. At bottom, it’s a prolix, 214-paragraph tangle of confusion and contradictory

  “alternative pleading” that fails to satisfy Twombly.

          The Supreme Court has mandated that district judges must scrutinize a complaint at the

  pleading stage and dismiss it unless it sets forth sufficient factual allegations to establish not just


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  a claim, but a plausible claim. Twombly, 550 U.S. at 544; see Iqbal, 556 U.S. at 662. Plausible

  means more likely than not, and is context specific. Twombly, 550 U.S. at 555-56. Alleging a

  mere possibility of wrongdoing is not enough. Plaintiff must plead facts, not “labels,”

  “conclusions,” or “formulaic recitation of the elements” to persuade this Court that a plausible

  claim exists. Iqbal, 556 U.S. at 678. This Court is “not required to ‘accept factual claims that are

  internally inconsistent.’” McMahon v. City of Riviera Beach, 2008 WL 4108051, at *3 (S.D. Fla.

  Aug. 28, 2008) (quoting Campos v. Immigration & Naturalization Serv., 32 F.Supp.2d 1337,

  1343 (S.D. Fla. 1998)).

         A district court’s first order of business is to scrub the complaint of legal conclusions and

  conclusions masquerading as “facts,” because neither are entitled to any weight. See Iqbal, 556

  U.S. at 678-79. After cleansing the complaint of legal conclusions, the court must “draw on its

  judicial experience and common sense,” and determine whether the plaintiff alleged a plausible

  claim, and whether alternative explanations of innocence are more likely than plaintiff’s

  allegations of wrongdoing. Maldonado v. Fontanes, 568 F.3d 263, 268 (1st Cir. 2009) (“[T]he

  court’s assessment of the pleadings is context-specific, requiring the reviewing court to draw on

  its judicial experience and common sense.”). This analysis depends on the full factual picture,

  not facts in isolation, and a complaint should be dismissed if it cannot support a plausible claim

  or its alternative explanations make its claim unlikely. See Twombly, 550 U.S. at 570 (Plaintiffs

  failed to nudge their claims across the line from conceivable to plausible where defendants

  offered obvious alternative explanations.); Iqbal, 556 U.S. at 680 (underlying facts of alleged

  wrongdoing were more compatible with, and more likely explained by, lawful conduct).

         Plaintiff asserts that, after Dave Kleiman died, Dr. Wright wrongfully took possession

  and control of Dave Kleiman’s bitcoins. AC ¶ 12. Plaintiff says Dr. Wright got control of those




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  bitcoins because Dave Kleiman and Dr. Wright shared the private keys needed to use and control

  each other’s bitcoins (id. ¶ 94), and that, on Dave’s death, Dr. Wright executed “an elaborate

  scheme to assert dominion over Dave’s and W&K’s bitcoin and intellectual property” that

  includes fabricating the Contracts and getting the Australian Judgments by defrauding the

  Supreme Court of New South Wales. AC ¶¶ 93, 96, 115.

         Plaintiff’s story is contradicted by Dave Kleiman’s own emailed words, which confirm

  the validity of the Deed and the New Venture Contract that Plaintiff claims are fraudulent. In the

  Deed, dated April 22, 2011, Dave Kleiman agreed to (1) repay 300,000 bitcoins loaned to him by

  Dr. Wright, (2) use Dr. Wright’s intellectual property, and (3) assign all “right title and interest to

  the improvements” to that intellectual property to Dr. Wright. Id. Ex. 10 at 3-4, 9. Almost three

  years later, on April 2, 2013, Dr. Wright and Dave Kleiman executed the New Venture Contract,

  which established the framework for a new Australian venture between them called Coin-Exch.

  Id. Ex. 5 at 5. The New Venture Contract stated that Dave Kleiman’s 300,000-bitcoin debt to Dr.

  Wright under the Deed would be reduced to 250,500 BTC due to the “rise in the value of

  Bitcoin,” and that the 250,000 BTC, “when taken in conjunction with the supply of the software”

  (i.e. the now-improved) intellectual property described in the Deed), “will suffice to fulfil” the

  Deed. Id. The 250,000 BTC payment was due on April 30, 2013, along with Dave Kleiman’s

  “323,000 remaining ‘mined’ Bitcoin as a 49% stake in a new venture to be formed in Australia

  [to be called Coin-Exch Pty, Ltd. (hereinafter “Coin-Exch.”)] between [Dave Kleiman] and [Dr.

  Wright] for the exploitation of the joint and to be pooled Bitcoin.” Id.

         In a February 2, 2013 email to Wright (AC Ex. 4 at 24), Dave Kleiman wrote, “Once

  Coin-Exch is setup on your end, I will transfer the 300k BTC and the software as agreed.” Id.

  Dave said also that he had mined bitcoin “under a ‘Ficticious [sic] name registration’ with




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  Sunbiz,” urged Wright “to move quick” because the price of bitcoin “is on the rise and I see

  $200 by 30 Apr,” and told Wright that once he had “the company setup in Au, I will transfer the

  extra with your amount.” Id.

         Thus, Dave Kleiman’s February 2, 2013 email confirmed (1) that he was eager to

  establish Coin-Exch in Australia, (2) and owed Dr. Wright the 300,000 BTC referenced in the

  Deed and earlier contract, together with an extra amount, while also (3) demonstrating that Dave

  Kleiman and Wright had agreed to the April 30, 2013 settlement date of the New Venture

  Contract, and (4) explaining the reasoning behind the New Venture Contract provision that

  reduced the 300,000 BTC debt to 250,500 BTC because of the “rise in the value of Bitcoin.” AC

  Ex. 5 at 5. Moreover, and contrary to Plaintiff’s allegations, the email shows that Dave Kleiman

  either did not mine all his bitcoins through W&K after 2011, or that W&K was merely his own

  “‘[f]icticious [sic] name registration’ with Sunbiz,” not a partnership with Wright.

         Dave Kleiman’s February 2, 2013 email, standing alone, undermines the plausibility of

  Plaintiff’s claims and supports their dismissal. But even if the Court did not have Dave

  Kleiman’s own words, Plaintiff’s claims should be dismissed because they are based on

  allegations that are absurd, inexplicable, and contradictory, and cannot be reconciled with the

  exhibits on which they purportedly are based. Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1206

  (11th Cir. 2007) (“[W]hen the exhibits contradict the general and conclusory allegations of the

  pleading, the exhibits govern.”); Crenshaw v. Lister, 556 F.3d 1283, 1292 (11th Cir. 2009)

  (affirming dismissal of complaint where exhibits refuted the plaintiff’s “conclusory and

  speculative allegations,” which were based in part on the exhibits); accord Berry v. U.S. Bank

  Nat'l Ass'n, 2015 WL 11233192, at *1 (S.D. Fla. 2015).




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         Plaintiff alleges that Dr. Wright fabricated the Deed and New Venture Contract to obtain

  and justify control over the bitcoins and intellectual. But Plaintiff also alleges that Dr. Wright

  already had control of the bitcoins when Dave Kleiman died, because he and Dave purportedly

  held and shared the private keys needed to access the alleged jointly-owned bitcoins. Id. ¶¶ 84,

  86, 88, 93-94. After Dave Kleiman died, it is not plausible that Dr. Wright would have gone to

  the trouble of fabricating deeds and contracts to obtain control of bitcoins if he already had the

  private keys, because he could have transferred those bitcoins anywhere, at any time.

         Even if it made a lick of sense to allege that Dr. Wright would fabricate contracts to

  obtain or justify control of bitcoins he already controlled, a glance at the Joint Venture Contract

  that Dr. Wright purportedly fabricated also demonstrates the fatal implausibility of that theory.

  Plaintiff alleges that Dr. Wright fabricated the Deed and New Venture Contract after Dave

  Kleiman died on April 26, 2013. Id. ¶¶ 6-7; 76. But the purportedly fabricated New Venture

  Contract has a settlement date of April 30, 2013, four days after Dave died. Id. Ex. 5 at 5. A

  rational tortfeasor fabricating a contract would choose a settlement date before the other party’s

  death, to avoid all conceivable issues about the contract’s obligations surviving the other party’s

  death. Thus, Plaintiff’s claims are based on the allegation that Dr. Wright gained control of

  bitcoins he already controlled, by fabricating a contract with a settlement date that would have

  complicated his contractual right to gain or justify control of the bitcoins.

         But that’s not all. After Dr. Wright allegedly fabricated the Deed and New Venture

  Contract to obtain or justify gaining control of assets he already controlled, Plaintiff alleges that

  Dr. Wright filed the Deed in support of claims he brought against W&K in the Australian

  Lawsuits. AC Ex. 4 at 10. The Australian Judgments attached to the amended complaint,

  however, show that Dr. Wright accepted his own intellectual property in full satisfaction of his




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  claims arising from the Deed, forgoing any rights to the bitcoins that Plaintiff claims Dr. Wright

  purloined, and is keeping, from Dave Kleiman’s estate. Id. Ex. 22 ¶¶ 5, 8.

         Plaintiff evidently realizes that alleging that Wright waived his right to bitcoins Dave

  Kleiman owed him is inconsistent with alleging that he fabricated the Deed to justify his

  “possession” of the bitcoins. Plaintiff tries to reconcile this inconsistency by saying that Wright

  filed the Australian Lawsuits to bolster a tax position he had taken in filings with the ATO. AC

  ¶¶ 96, 110, 132. But, assuming that were true, Plaintiff’s allegation would not support a claim

  that he suffered any injury as a result of Dr. Wright’s alleged conduct before the ATO. Instead,

  and at most, this allegation might imply that the ATO would have a claim against Dr. Wright, a

  claim that cannot be adjudicated in this District (or country), or pursued by this Plaintiff.

         Instead of walking away quietly with intellectual property and a fortune in bitcoins,

  Plaintiff alleges that Dr. Wright tried to cover up his “theft” by emailing Dave and Ira Kleiman’s

  father to tell him about the existence of Dave Kleiman’s bitcoins and urge him to preserve the

  “wallet.dat” files on Dave’s hard drives, which would have stored the private keys Plaintiff

  would need to use Dave’s bitcoins. AC ¶¶ 22, 133 [and heading above ¶ 132]. It is absurd to

  allege that Dr. Wright would have put Plaintiff on notice of bitcoins he already controlled, and

  just as absurd to allege that Dr. Wright would have urged Plaintiff to go looking for bitcoins that

  he was trying to steal through some convoluted (and unnecessary) court process. It’s even more

  Rube Goldberg to allege that someone who already had the private keys needed to control the

  bitcoins would have urged Dave’s family to preserve a duplicate copy of those private keys on

  Dave Kleiman’s hard drives instead of standing idly by until those hard drives were discarded.

         Plaintiff also attaches emails to the amended complaint showing that Dr. Wright told

  Plaintiff about Dave Kleiman’s shares in Coin-Exch, offered to make Plaintiff a director of Coin-




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  Exch, and offered to buy his shares in Coin-Exch. AC Ex. 24 at 12, 19-21. Those emails and the

  email to Dave Kleiman’s father urging him to preserve the bitcoin files on Dave’s hard drives

  contradict Plaintiff’s allegations that Dr. Wright schemed to conceal the bitcoins he supposedly

  was trying to steal (over which he incongruously already had control). Plaintiff attempts to

  justify that contradiction with another implausible tale.

         The amended complaint alleges that Dr. Wright told Plaintiff about the bitcoins and Coin-

  Exch only because Dr. Wright expected the ATO to contact Plaintiff in connection with its

  investigation of Dr. Wright. Thus, according to amended complaint, Dr. Wright contacted

  Plaintiff to help him “justify various tax positions he took in Australia.” AC ¶ 132 [and heading

  above]. Even if this incongruous assertion could have been true, it would not support a claim for

  the damages Plaintiff pursues. At most, Plaintiff alleges that Dr. Wright gave him shares in Coin-

  Exch in the hopes that doing so would cause Plaintiff to help Dr. Wright justify tax positions he

  made in Australia, which might support an ATO claim against Dr. Wright in Australia, but

  cannot support a claim that could be brought by this Plaintiff anywhere, including this District.

         The amended complaint simply makes no sense. Plaintiff nonetheless demands the Court

  accept its contradictory and implausible allegations in place of the simple, rational, and logical

  explanation that actually is supported by the exhibits—namely, that Dave Kleiman’s email

  confirms the validity of the Deed and New Venture Contract, and that he died before giving Dr.

  Wright the private keys needed to control the bitcoins he had committed to Coin-Exch. AC Ex. 4

  at 24. Knowing that the private keys existed, and that he did not have them, Dr. Wright

  encouraged Plaintiff to preserve Dave Kleiman’s hard drives so Dave’s family could recover the

  bitcoins from those drives or retrieve them when technology evolved sufficiently to crack Dave’s

  encryption.




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         This action would be due for dismissal even if it were based on the claims of a plaintiff

  who purported to have personal knowledge of his unbelievable allegations. But here, Plaintiff

  admits he has no personal knowledge and has made up an implausible story that defies logic and

  common sense, which is contradicted and undermined by the exhibits on which the amended

  complaint relies. It should be dismissed for that reason alone.

             2. The Amended Complaint Fails to Adequately Allege a Claim for Conversion of
                Bitcoins Because It Did Not (and Could Not) Specifically Identify Any Bitcoins
                That Were Owned by Dave Kleiman

         Plaintiff’s conversion claim is legally insufficient because it did not (and could not)

  specifically identify any bitcoins that allegedly were owned by Dave Kleiman. Conversion is “an

  unauthorized act which deprives another of his property permanently or for an indefinite

  time.” Mattocks v. Black Entm’t Television LLC, 43 F. Supp. 3d 1311, 1321 (S.D. Fla. 2014)

  (citing Fogade v. ENB Revocable Trust, 263 F.3d 1274, 1291 (11th Cir. 2001)). A plaintiff must

  allege facts sufficient to show “ownership of the subject property and facts that the other party

  wrongfully asserted dominion over that property.” Id.

         When money is the subject of a purported conversion claim,11 a plaintiff must allege “(1)

  specific and identifiable money; (2) possession or an immediate right to possess that money; (3)

  an unauthorized act which deprives plaintiff of that money; and (4) a demand for return of the

  money and a refusal to do so.” United States v. Bailey, 288 F. Supp. 2d 1261, 1264 (M.D. Fla.

  2003), aff’d, 419 F.3d 1208 (11th Cir. 2005). Moreover, conversion of money cannot lie “unless

  the money is a specifically identifiable fund such as an escrow account, a bag of gold coins, or

  the like.” In re Mouttet, 493 B.R. 640, 662 (Bankr. S.D. Fla. 2013). Thus, alleged conversion of



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    As alleged in the amended complaint, Bitcoin is a form of cryptocurrency (AC ¶ 9) and,
  therefore, bitcoins are a form of money. E.g., United States v. Faiella, 39 F. Supp. 3d 544, 545
  (S.D.N.Y. 2014).


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  fungible money (or bitcoins) is legally insufficient. Money is identifiable where “it is delivered

  at one time, by one act and in one mass, or where the deposit is special and the identical money

  is to be kept for the party making the deposit, or where wrongful possession of such property is

  obtained.” Batlle v. Wachovia Bank, N.A., 2011 WL 1085579, at *2 (S.D. Fla. 2011).

          The amended complaint does not allege facts to demonstrate that Plaintiff represents the

  owner of any of the alleged bitcoins. Moreover, the complaint contradicts itself in numerous

  ways. First, it fails to allege exactly how many bitcoins Dave Kleiman supposedly owned at any

  time in the past. Second, the complaint alleges that W&K was solely owned by Dave Kleiman,

  but then alleges, in the alternative, that Dr. Wright also may have been a member of W&K. AC

  ¶¶ 71, 94. If the allegation that Kleiman is entitled to an unknown percent of some unknown

  number of bitcoins owned by W&K were accepted as true, then the unknown bitcoins mined by

  W&K belonged to both Kleiman and Dr. Wright. Plaintiff’s allegations fail to demonstrate how

  Plaintiff ever claimed “ownership of the subject property.” Mattocks, 43 F. Supp. 3d at 1321. For

  this reason alone, the conversion claim requires dismissal.

         The conversion claim also should be dismissed because the amended complaint lacks

  anything more than a conclusory allegation that the unidentified bitcoins are specific and

  identifiable, Bailey, 288 F. Supp. 2d at 1264, or that Dave Kleiman ever delivered or transferred

  any specific sum of bitcoins to Wright. On the contrary, the complaint alleges that Kleiman and

  Wright owned and controlled more than 1,100,000 bitcoins that they purportedly mined and held

  in trusts outside of the United States. AC ¶¶ 79, 84, 93. Thus, Plaintiff only guesses about

  whether any of these alleged bitcoins ever belonged to Dave Kleiman, let alone how many or

  how any of them could represent anything other than fungible money. Plaintiff never could

  demonstrate which bitcoins belonged to Dave Kleiman, because, according to Plaintiff, he




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  cannot access the bitcoin wallets on Dave’s hard drives, which are encrypted. Thus, there is no

  way of knowing whether any of the fungible bitcoins Plaintiff alleges were stolen by Dr. Wright

  are actually on hard drives in Plaintiff’s hands.

         It is a legal impossibility to specifically identify money or bitcoins that are comingled.

  Fla. Desk, Inc. v. Mitchell Int’l, Inc., 817 So. 2d 1059, 1061 (Fla. 5th DCA 2002) (Unsegregated

  money placed in a general operating account not specific and identifiable.). The allegation that

  the purported “overseas trusts” contained “at least 300,000” bitcoins fails to specifically identify

  any bitcoins that purportedly were Dave’s. AC ¶ 88. The case law is clear: “The fact that the

  amount is certain does not make an ‘identifiable fund.’” Fla. Desk, Inc., 817 So. 2d at 1061;

  Walinbay S.A. v. Fresh Results, LLC, 2014 WL 1259901, at *3 (S.D. Fla. 2014); Guevara v.

  Republica Del Peru, 2008 WL 11333432, at *3 (S.D. Fla. 2008). Because Plaintiff fails to allege

  that any of the purported bitcoins were specifically identifiable or that Dave Kleiman had

  exclusive ownership of any identifiable bitcoins, the Court should dismiss Count I.

         3. Plaintiff Failed to Adequately Allege a Claim for Constructive Fraud Because He
            Failed to Adequately Allege the Existence of a Fiduciary Relationship Between Dr.
            Wright and Plaintiff

         To state a claim for constructive fraud, Plaintiff was required to adequately allege the

  existence of a fiduciary or confidential relationship. Am. Honda., Inc. v. Motorcycle Info.

  Network, Inc., 390 F. Supp. 2d 1170, 1179 (M.D. Fla. 2005). “A fiduciary relationship exists

  when there is a relationship of trust and confidence between parties, where confidence

  is given by one and trust is accepted by the other.” Amoco Oil Co. v. Gomez, 125 F. Supp. 2d

  492, 509–10 (S.D. Fla. 2000). It is not enough to allege that the plaintiff placed “trust and

  confidence” in the alleged fiduciary; the plaintiff must also allege that the fiduciary “recognized,

  accepted, or undertook the duties of a fiduciary—that of advising, counseling, and protecting.”



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  Amoco Oil Co., 125 F. Supp. 2d at 509–10; Hogan v. Provident Life & Acc. Ins. Co., 665 F.

  Supp. 2d 1273, 1286–87 (M.D. Fla. 2009) (“[T]he plaintiff must allege both that the plaintiff

  placed trust in the defendant and the defendant accepted that trust.”); accord Lanz v. Resolution

  Tr. Corp., 764 F. Supp. 176, 179 (S.D. Fla. 1991). Merely reciting the elements of a fiduciary

  relationship does not “plausibly establish a fiduciary relationship.” Hogan v. Provident Life &

  Acc. Ins. Co., 665 F. Supp. 2d 1273, 1286–87 (M.D. Fla. 2009).

         Plaintiff says that “a fiduciary relationship existed between . . . Craig and Ira,” “Craig

  invited . . . Ira’s utmost trust and loyalty,” and Ira “reposed the utmost trust and loyalty in

  Craig.” AC ¶ 206-08. This recital of some of the elements of a fiduciary relationship is

  unsupported by allegations of fact and would be legally insufficient even if the recital was

  complete. It is not complete because Plaintiff did not identify the fiduciary relationship that Dr.

  Wright purportedly breached other than to say that it was a “fiduciary” one, let alone allege that

  Dr. Wright ever “recognized, accepted, or undertook” any fiduciary duties to Ira Kleiman or

  W&K after Dave Kleiman died. Moreover, Plaintiff’s claim that he put his “utmost trust and

  loyalty” in Dr. Wright is contradicted by Plaintiff’s unequivocal admission that he did not trust

  Dr. Wright. AC Ex. 24 at 17. Accordingly, Plaintiff’s claim for constructive fraud should be

  dismissed.

                                           IV. CONCLUSION

         For these compelling reasons, the Court should dismiss the amended complaint.




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                                                             RIVERO MESTRE LLP
                                                             Attorneys for Craig Wright
                                                             2525 Ponce de Leon Boulevard,
                                                             Suite 1000
                                                             Miami, Florida 33134
                                                             Telephone: (305) 445-2500
                                                             Fax: (305) 445-2505
                                                             Email: arivero@riveromestre.com
                                                             Email: jmestre@riveromestre.com
                                                             Email: arolnick@riveromestre.com
                                                             Email: dsox@riveromestre.com
                                                             Email: receptionist@riveromestre.com

                                                             By: s/ Andres Rivero
                                                             ANDRES RIVERO
                                                             Florida Bar No. 613819
                                                             JORGE A. MESTRE
                                                             Florida Bar No. 88145
                                                             ALAN H. ROLNICK
                                                             Florida Bar No. 715085
                                                             DANIEL SOX
                                                             Florida Bar No. 108573




                                   CERTIFICATE OF SERVICE

         I certify that on June 15, 2018, I electronically filed this document with the Clerk of the
  Court using CM/ECF. I also certify that this document is being served today on all counsel of
  record by transmission of Notices of Electronic Filing generated by CM/ECF.


                                                               s/ Daniel Alvarez Sox
                                                                  Daniel Alvarez Sox




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